                         Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 1 of 17




                   1    HARTLINE, DACUS, BARGER,
                         DREYER & KERN, L.L.P.
                   2    Scott G. Edwards - Admitted Pro Hac Vice
                        6688 North Central Expressway, Suite 1000
                   3    Dallas, Texas 75206
                        Telephone: (214) 369-2100
                   4    E-mail: sedwards@hdbdk.com
                   5    FENNEMORE CRAIG, P.C.
                        William L. Thorpe (No. 005641)
                   6    Scott Day Freeman (No. 019784)
                        3003 North Central Avenue, Suite 2600
                   7    Phoenix, Arizona 85012-2913
                        Telephone: (602) 916-5000
                   8    E-mail: wthorpe@fclaw.com
                        E-mail: sfreeman@fclaw.com
                   9
                        Attorneys for Defendant Bridgestone
                  10    Firestone North American Tire, LLC
                  11                            UNITED STATES DISTRICT COURT
                  12                                    DISTRICT OF ARIZONA
                  13    Angel Juarez Moreno, individually and as        Case No.: CIV 07-889-PHX-NVW
                        surviving spouse, and on behalf of all
                  14    statutory beneficiaries of Antonia de
                        Santiago Castillo, deceased; J. A. J. de
                  15    Santiago, A. J. de Santiago, and A. J. de       DEFENDANT BRIDGESTONE
                        Santiago, minors, by and through their father   FIRESTONE NORTH AMERICAN
                  16    and next friend, Angel Juarez Moreno;           TIRE, LLC’S MOTION TO EXCLUDE
                        Beatriz Moreno de Santiago and Joaquin de       CERTAIN EXPERT TESTIMONY OF
                  17    Santiago-Castillo, husband and wife,            TROY COTTLES AND BRIEF IN
                        individually and as next friends on behalf of   SUPPORT THEREOF
                  18    their minor children, J. de Santiago, B. de
                        Santiago, J. C. de Santiago, J. A. de
                  19    Santiago-Castillo;
                  20                      Plaintiffs,
                        v.
                  21
                        Bridgestone/Firestone, Inc., an Ohio
                  22    Corporation; Bridgestone/Firestone North
                        American Tire, L.L.C., a Delaware limited
                  23    liability company; Bridgestone Americas
                        Holding, Inc., a Nevada corporation;
                  24    Bridgestone Corporation, a Japanese
                        corporation; Black and White Corporations
                  25    I-X; Black and White Partnerships I-X; John
                        Does 1-10,
                  26
                                          Defendants.
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                  -1-
                         Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 2 of 17




                   1
                               Bridgestone Firestone North American Tire, LLC (“Firestone”) moves the Court
                   2
                        for an order excluding the following three expert opinions of Troy Cottles: (1) the subject
                   3
                        tire is defective in design due to the presence of rubber reversion zones; (2) the subject tire
                   4
                        is defective in design because its skim compound had inadequate antidegradants
                   5
                        (antioxidants); and (3) the subject tire is defective in manufacture due to the presence of
                   6
                        liner pattern marks. It is respectfully submitted that this motion should be granted for the
                   7
                        reasons set forth below.
                   8
                                                                      I.
                   9
                                                                Background
                  10
                               This is a products liability action arising out of a motor vehicle accident which
                  11
                        occurred June 16, 2004 in Chihuahua, Mexico. Plaintiffs allege the left rear Firestone
                  12
                        Steeltex Radial A/T LT265/75R16 Load Range E light truck tire (“subject tire”) on their
                  13
                        2000 Ford Excursion experienced a tread/belt separation and detachment, causing Angel
                  14
                        Juarez Moreno to lose control of the vehicle. Plaintiffs have designated Troy Cottles as an
                  15
                        “expert witness” to be called at the trial of this matter for the purpose of offering the
                  16
                        opinion that the subject tire was defective in design and manufacture for several alleged
                  17
                        reasons.
                  18
                               Among other things, Cottles admits: (1) he conducted no testing to support his
                  19
                        opinions, (2) he has no scientific studies to support his opinions, (3) his opinions were not
                  20
                        subjected to peer review, and (4) his opinions have not been accepted by the relevant
                  21
                        scientific community. Moreover, Cottles has very little non-litigation experience in tire
                  22
                        failure analysis of tires that have sustained a tread/belt separation and detachment. His
                  23
                        defect opinions set forth herein should accordingly be excluded.
                  24
                               Firestone is not seeking to exclude Mr. Cottles entirely. Nor does it seek to
                  25
                        exclude each of his proffered opinions. Instead, Firestone has selected only three of his
                  26
                        weakest opinions, which plainly do not meet the requirements of Rule 702.
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                    -2-
                            Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 3 of 17




                   1
                                                                                II.
                   2
                                                         ARGUMENTS AND AUTHORITY
                   3
                        A.      Cottles Admits a Tire can Fail for Reasons other than a Defect
                   4
                                Cottles does not believe a tire is defective merely because it sustains a tread/belt
                   5
                        separation.1 He agrees a failed tire does not necessarily mean a bad or defective tire.2
                   6
                        Properly designed and manufactured tires can fail for reasons unrelated to a defect in the
                   7
                        tire. Id. Moreover, Cottles agrees all steel-belted radial tires can fail; there is no such
                   8
                        thing as an indestructible steel-belted radial tire. Id.
                   9
                                However, Cottles has never done any scientific studies to determine what service
                  10
                        conditions can cause tread/belt separations and detachments. Id. at 56-57. He has never
                  11
                        done any testing of steel-belted radial tires to determine what service conditions cause
                  12
                        tread/belt separations and detachments in tires. Id. at 57. He has never done puncture
                  13
                        testing of steel-belted radial tires where he ran the tires to failure. Id. at 57, 98.
                  14
                                Cottles stated in his expert report in this case that what he calls the “major rubber
                  15
                        reversion crescent zone” is from 45 to 105° on the opposite serial side of the tire.3 The
                  16
                        subject tire has a patch-only repair of a puncture in the tire in the same area. In his report,
                  17
                        Cottles references the fact that there is a “patch repair” at 80° on the opposite serial side of
                  18
                        the tire. Id. at 18.
                  19
                        B.      The Opinions at Issue
                  20
                                Cottles’ tire opinions at issue are as follows:
                  21
                                 1)      The subject tire is defective in design due to the presence of rubber reversion
                  22
                  23    1
                          See Deposition of Troy Cottles in Johnson v. Bridgestone Firestone North American Tire, LLC, relevant portions
                        of which are attached hereto and incorporated herein for all purposes as Exhibit “1,” p. 40-41. Although certain
                  24    pages of this deposition are designated confidential, none of the pages cited in this motion and brief were so
                        designated.
                  25    2
                          See Deposition of Troy Cottles in Werner v. Bridgestone Firestone North American Tire, LLC, relevant portions of
                        which are attached hereto and incorporated herein for all purposes as Exhibit “2,” p. 129. Although certain pages of
                  26    this deposition are designated confidential, none of the pages cited in this motion and brief were so designated.
                        3
                          See Expert Report of Troy Cottles (“Cottles Report”) previously filed herein [Doc. No. 109-3], p. 19.
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                              -3-
                         Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 4 of 17




                   1
                                      zones;
                   2
                               2)     The subject tire is defective in design because its skim compound had
                   3
                                      inadequate antidegradants (antioxidants);
                   4
                               3)     The subject tire is defective in manufacture due to the presence of liner
                   5
                                      pattern marks.
                   6
                               Firestone moves this Court to exclude the above opinions of Cottles because his
                   7
                        opinions are conclusory, unsubstantiated, and lack the requisite reliability to satisfy the
                   8
                        requirements of Federal Rule of Evidence 702, as interpreted by the United States
                   9
                        Supreme Court in Daubert v. Merrill Dow Pharmaceuticals, Inc., 509 U.S. 579, 113 S.Ct.
                  10
                        2786 (1993) ("Daubert I"); on remand, Daubert v. Merrill Dow Pharmaceuticals, Inc., 43
                  11
                        F.3d 1311 (9th Cir. 1995) ("Daubert II") and Kumho Tire Co. v. Carmichael, 526 U.S.
                  12
                        137 (1999). Further, Cottles lacks non-litigation tire failure analysis experience related to
                  13
                        tread/belt detachments of tires. Further, he is not qualified to offer tire chemistry opinions
                  14
                        related to antidegradants in tires as required by Federal Rule of Civil Procedure 702.
                  15
                        C.     The Daubert Standard
                  16
                               Rule 702 of the Federal Rules of Evidence, which governs the admission of expert
                  17
                        testimony, provides as follows:
                  18
                  19                  If scientific, technical, or other specialized knowledge will
                                      assist the trier of fact to understand the evidence or to
                  20
                                      determine a fact in issue, a witness qualified as an expert by
                  21                  knowledge, skill, experience, training, or education, may
                                      testify thereto in the form of an opinion or otherwise, if (1) the
                  22                  testimony is based upon sufficient facts or data, (2) the
                  23                  testimony is the product of reliable principles and methods,
                                      and (3) the witness has applied the principles and methods
                  24                  reliably to the facts of the case.
                  25
                        Fed. R. Evid. 702.
                  26
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                    -4-
                         Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 5 of 17




                   1
                               When faced with a proffer of expert testimony, the Court must determine whether
                   2
                        the expert witness is qualified and has specialized knowledge that will “assist the trier of
                   3
                        fact to understand the evidence or to determine a fact in issue.” Daubert I, 509 U.S. at
                   4
                        591.
                   5
                               Even if a witness qualifies as an expert, the Court, under Federal Rule of Evidence
                   6
                        702, must exercise its gatekeeper function by inquiring into the reliability and foundation
                   7
                        of a proffered opinion in determining the admissibility of any such opinion. Fed. R. Civ.
                   8
                        Evid. 702. In Daubert v. Merrell Dow Pharmaceuticals, Inc., 113 S. Ct. 2786, 2795
                   9
                        (1993), the United States Supreme Court held Rule 702 of the Federal Rules of Evidence
                  10
                        requires scientific expert testimony to be reliable and relevant.
                  11
                               Plaintiffs must prove by a preponderance of the evidence that their expert's
                  12
                        opinions are scientifically reliable, relevant and result from an application of the scientific
                  13
                        method. Daubert I at 2795-2796. Based on Daubert, the district court is charged with
                  14
                        certain responsibilities in its gatekeeper function. This requires that the court ensure that
                  15
                        such testimony constitutes “good science” (509 U.S. at 593, 113 S. Ct. at 2797) and that
                  16
                        findings are sufficiently “derived by the scientific method” or otherwise “supported by
                  17
                        appropriate validation.” Daubert I, 509 U.S. at 590, 113 S.Ct. at 2795; Kumho Tire Co. v.
                  18
                        Carmichael, 526 U.S. 137 (1999). This requires findings by the district court under Rule
                  19
                        104(a), Fed. R. Evid., that the proffered evidence possesses a sufficient evidentiary
                  20
                        reliability to be admissible as scientific, technical, or other specialized knowledge and that
                  21
                        the proffered evidence is relevant in the sense that it will assist the trier of fact to
                  22
                        understand the evidence or determine a fact at issue. See Standards and Procedures for
                  23
                        Determining the Admissibility of Expert Testing After Daubert, 157 F.R.D. 571, 580
                  24
                        (1994).
                  25
                               Evidentiary reliability is demonstrated by a showing that the knowledge offered is
                  26
                        more than speculative belief or unsupported speculation.                Daubert I at 2795.
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                    -5-
                            Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 6 of 17




                   1
                        While certainty is not required, the knowledge asserted must be based on good scientific
                   2
                        grounds. Id. Scientific knowledge requires more than guesswork, it must be grounded in
                   3
                        a body of known facts or a body of ideas inferred from such facts; otherwise, reliability is
                   4
                        lost and the trier of fact is not assisted by what may be no more than speculation or
                   5
                        subjective belief.4 Expert testimony must be based on scientific knowledge that “fits”
                   6
                        related facts and not unrelated purposes in order to be helpful. Daubert I at 2795-2796.
                   7
                                In Kumho Tire Co. v. Carmichael, the Supreme Court abolished the distinction
                   8
                        between scientific and technical evidence previously recognized by some courts and held
                   9
                        that the opinions of an expert in a tire failure case merited Rule 702 scrutiny. 526 U.S.
                  10
                        137 (1999). In fact, the decision upheld the District Court’s decision to exclude the
                  11
                        opinions of a plaintiff’s tire expert on Daubert grounds.
                  12
                                The opinions addressed in this motion plainly must pass the reliability and validity
                  13
                        tests of Rule 702.        The tire opinions at issue purport to address a cause and effect
                  14
                        relationship between certain physical, chemical or mechanical conditions and the ultimate
                  15
                        bonding or adhesion of the tire. Such relationships must depend upon scientific principles
                  16
                        that can be tested and which, if true, can be peer reviewed and gain acceptance in a
                  17
                        relevant scientific community.
                  18
                                Many courts have recognized that it is not so simply because “an expert says it is
                  19
                        so.” See Viterbo v. Dow Chem. Co., 826 F.2d 420, 421 (5th Cir. 1987). When the expert
                  20
                        “br[ings] to court little more than his credentials and a subjective opinion,” this is not
                  21
                        evidence that would support a judgment. Viterbo, 826 F.2d at 421-422. The Fifth Circuit
                  22
                        in Viterbo affirmed a summary judgment and the exclusion of expert testimony that was
                  23
                        unreliable, holding that “[i]f an opinion is fundamentally unsupported, then it offers no
                  24
                        expert assistance to the jury.” Id. at 422; see also Rosen v. Ciba-Geigy Corp., 78 F.3d
                  25
                        4
                          United States v. Posado, 57 F.3d 428, 433 (5th Cir. 1995); Viterbo v. Dow Chemical Company, 826 F.2d 420, 424
                  26    (5th Cir. 1987); In Re Aircrash Disaster at New Orleans, 795 F.2d 1230 (5th Cir. 1986); Claar v. Burlington
                        Northern R. Co., 29 F.3d 499 (9th Cir. 1994).
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                            -6-
                         Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 7 of 17




                   1
                        316, 319 (7th Cir.) (“[A]n expert who supplies nothing but a bottom line supplies nothing
                   2
                        of value to the judicial process.”), cert. denied, 117 S. Ct. 73 (1996); Turpin v. Merrell
                   3
                        Dow Pharm., Inc., 959 F.2d 1349, 1360 (6th Cir. 1992) (holding evidence legally
                   4
                        insufficient in Bendectin case when no understandable scientific basis was stated).
                   5
                               The United States Supreme Court stated in General Electric Co. v. Joiner:
                   6
                   7                  [N]othing in either Daubert or the Federal Rules of Evidence
                                      requires a district court to admit opinion evidence which is
                   8
                                      connected to existing data only by the ipse dixit of the expert.
                   9                  A court may conclude that there is simply too great an
                                      analytical gap between the data and the opinion proffered.
                  10
                  11    General Electric Co. v. Joiner, 522 U.S. 136, 118 S. Ct. 512, 519 (1997).
                  12           A leading decision of the Seventh Circuit construing Daubert notes that its basic
                  13    object is “to make sure that when scientists testify in court they adhere to the same
                  14    standards of intellectual rigor that are demanded in their professional work.” Rosen v.
                  15    Ciba-Geigy Corp., 78 F.3d 316, 318 (7th Cir. 1996), cert. denied, 519 U.S. 819, 117 S. Ct.
                  16    73 (1996). As one District Court noted, “[e]xperts cannot float their conclusions on
                  17    cushions of air; they must rest those conclusions upon foundations built from reliable
                  18    scientific explanation.” Navarro v. Fuji Heavy Industries, Ltd., 925 F. Supp. 1323, 1328
                  19    (N.D. Ill. 1996), aff’d, 117 F.3d 1027 (7th Cir.), cert. denied, 1185 S. Ct. 600 (1997). The
                  20    essential failing of the opinions at issue here is that they show no adherence to such
                  21    standards. They are based on no scientific analysis, no independent testing, and no
                  22    independent body of accepted scientific information.
                  23    D.     Daubert and the Tire Expert
                  24           Because so many factors other than defect can cause a tire to fail, courts require a
                  25    valid expert opinion in order to make a prima facie case of defect and unreasonable
                  26
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                   -7-
                            Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 8 of 17




                   1
                        danger.5 Courts have not hesitated to exclude expert testimony concerning alleged tire
                   2
                        defects under Daubert where the expert testimony is not reliable. See Kumho Tire Co. v.
                   3
                        Carmichael, 526 U.S. 137, 119 S.Ct. 1167 (1999); Smith v. Goodyear Tire & Rubber Co.,
                   4
                        495 F.3d 224 (5th Cir. 2007); McCool v. Bridgestone/Firestone North American Tire,
                   5
                        LLC, 222 Fed.Appx. 847, 2007 WL 761 804 (11th Cir.(Fla.) 2007); Allen v. LTV Steel
                   6
                        Co., No. 02-4094, 2003 WL 21461633 (7th Cir. June 17, 2003); Williams v. Michelin
                   7
                        North America, Inc. 381 F. Supp. 2d 1351 (M.D.Fla. 2005); Hauck v. Michelin N. Am.,
                   8
                        Inc., 343 F. Supp. 2d 976 (D. Colo. 2004); Rivera-Pomales v. Bridgestone/Firestone, Inc.,
                   9
                        217 F.R.D. 290 (D.P.R. 2003); Prince v. Michelin N. Am., Inc., 248 F. Supp. 2d 900
                  10
                        (W.D. Mo. 2003); Diviero v. Uniroyal Goodrich Tire Co., 919 F. Supp. 1355 (D. Ariz.
                  11
                        1996), aff’d, 114 F.3d 851 (9th Cir. 1997); Meyerhoff v. Michelin Tire Corp., 852 F.Supp.
                  12
                        933 (D.Kans. 1994), aff’d, 70 F.3d 1175 (10th Cir. 1995); Cooper Tire & Rubber Co. v.
                  13
                        Mendez, 204 S.W.3d 797 (Tex. 2006); The Goodyear Tire & Rubber Co. v. Rios, 143
                  14
                        S.W.3d 107 (Tex.App.—San Antonio 2004, pet. denied); Mitchell v. Uniroyal Goodrich
                  15
                        Tire Company, Inc., 666 So.2d 727 (La.App. 1995); Clement v. Griffin, 634 So.2d 412
                  16
                        (La.App. 1994).
                  17
                        E.      Plaintiffs’ Tire Expert Troy Cottles
                  18
                                The background of Plaintiff’s “tire expert” is relevant to an evaluation of the
                  19
                        context in which the specific opinions at issue were formed. The facts show that the
                  20
                        opinions are not the result of scientific inquiry, but were instead spawned as little more
                  21
                        than unvarnished advocacy in Cottles’ litigation consulting practice with no analysis of
                  22
                        what actually occurred in the subject accident. These opinions were merely developed in
                  23
                        the context of litigation.
                  24
                  25
                  26    5
                         Shramek v. General Motors Corp., 216 N.E.2d 244 (Ill.App. 1966); Sears, Roebuck & Co., Inc. v. Haven Hills
                        Farm, Inc., 395 So.2d 991 (Ala. 1981); Woelfel v. Murphy Ford Co., 487 A.2d 23 (Pa.Super. 1985).
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                             -8-
                            Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 9 of 17




                   1
                                  Cottles does not have an engineering degree.6 Although he received a bachelor’s
                   2
                        degree in mathematics from Athens State University, such university did not even have an
                   3
                        engineering program when he attended there, and still does not have an engineering
                   4
                        program. Id. at 90-91. Cottles admits he is not a licensed professional engineer in any
                   5
                        state. Id. at 91.
                   6
                                  Cottles has never published any articles, papers or books pertaining to tires.
                   7
                        Exhibit 2, p. 25. He does not hold any patents related to tires. Id. He is not a member of
                   8
                        any tire association anywhere in the world. Id. at 66.
                   9
                  10              1.     Cottles Has Virtually no Non-Litigation Experience Involving Tire
                                         Failure Analysis of Tread/Belt Detachments
                  11
                                  Cottles admits he did not hold himself out as a tire failure analyst until after
                  12
                        he left Goodyear-Dunlop. Exhibit 1, p. 98. While he was at Goodyear-Dunlop, Cottles
                  13
                        only remembers two occasions where he inspected tires which sustained tread/belt
                  14
                        separations that were returned from the field. Exhibit 3, p. 102-103. Cottles never
                  15
                        worked in the product analysis group at Goodyear-Dunlop. Id. at 100. Based on his
                  16
                        limited experience in examining tires that have sustained a tread/belt detachment, he has
                  17
                        never inspected a tire that sustained a tread/belt separation and detachment as a result of
                  18
                        overdeflection (underinflation and/or overloading). Exhibit 2, p. 127-128. Cottles agrees,
                  19
                        however, improper repairs can cause tread/belt separations and detachments. Exhibit 3,
                  20
                        p. 130.
                  21
                                  2.     Cottles is Not an Expert in Tire Chemistry
                  22
                                  Cottles agrees that tire rubber compounds are developed by chemists and tire
                  23
                        compounders, but admits he is not a chemist, chemical engineer or a tire compounder.
                  24
                        Exhibit 2, p. 21-23. He admits he is not an expert in polymer or rubber chemistry. Id. at
                  25
                  26    6
                         See Deposition of Troy Cottles in Cleminson v. Bridgestone Firestone North American Tire, LLC, relevant portions
                        of which are attached hereto and incorporated herein for all purposes as Exhibit “3,” p. 90.
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                             -9-
                        Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 10 of 17




                   1
                        22. He has never been qualified by any court as an expert in tire chemistry. Id. He has
                   2
                        never designed or formulated the skim stock compound for any tire, including a steel-
                   3
                        belted radial tire. Id. at 23. He agrees the design or formulation of rubber compounds is
                   4
                        outside his area of expertise. Id. at 24. Cottles is not an expert in tire compounding.
                   5
                        Exhibit 3, p. 357.
                   6
                                 3.       Cottles Litigation Consulting
                   7
                                 Goodyear-Dunlop fired Cottles for disloyalty and violation of a noncompete
                   8
                        agreement.7 Exhibit 2, p. 71. Cottles admits that since his termination at Goodyear-
                   9
                        Dunlop in July of 2005, he has earned his living as an expert witness in litigation matters.
                  10
                        Id. at 100. He began consulting on litigation matters within “a month or so” from being
                  11
                        fired.8 Id. at 100. He is not presently doing any consulting work that is not related to
                  12
                        lawsuits or potential lawsuits. Id. at 100. He admits that 100% of his consulting work is
                  13
                        for plaintiffs in lawsuits. Id. at 103. Cottles has never been hired as an expert witness by
                  14
                        any tire manufacturer. Id. at 107.
                  15
                                 Within eight months after his termination at Goodyear-Dunlop, Cottles had
                  16
                        received over $100,000 in retainers from nine different plaintiffs’ attorneys suing tire
                  17
                        companies, all before he gave any testimony or was disclosed as an expert witness in any
                  18
                        case.9 These plaintiffs' attorneys also sent Cottles several depositions of plaintiffs’ “tire
                  19
                        experts” to review, and further sent him reference materials. Exhibit 2, p. 92-94. Cottles
                  20
                        admits the majority of the reference materials he has were given to him by these plaintiffs’
                  21
                        attorneys. Id. at 94.
                  22
                  23
                        7
                          Cottles worked for Goodyear-Dunlop from 1988 – 2005.
                  24    8
                            Cottles admits he had several meetings with plaintiffs’ lawyers (including Plaintiffs’ counsel in this case) who sue
                        tire companies regarding his willingness to consult with them in litigation cases against tire manufacturers while he
                  25    was still employed at Goodyear-Dunlop. Id. at 79-81. He admits he kept these meetings a secret from Goodyear-
                        Dunlop. Id. at 79.
                  26    9
                           See Deposition of Troy Cottles in Underwood v. Firestone, relevant portions of which are attached hereto and
                        incorporated herein for all purposes as Exhibit “4,” p. 146-155.
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                               -10-
                        Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 11 of 17




                   1
                        F.         Cottles’ Defect Opinions
                   2
                                   1.       Rubber Reversion Zones
                   3
                                   Cottles opines the subject tire is defective in design and manufacture due to the
                   4
                        presence of rubber reversion zones on the belt skims.10 He believes the presence of rubber
                   5
                        reversion zones indicates the tire was not capable of managing the heat, stress, strain,
                   6
                        flexion, and oxygen exposure being generated between the steel belts of the subject tire.
                   7
                        Id. He has offered this same design defect opinion regarding rubber reversion zones in
                   8
                        other cases against other tire manufacturers. Exhibit 3, p. 339-340.
                   9
                                   Cottles admits his rubber reversion defect theory is not based on any testing he has
                  10
                        personally done. Exhibit 3, p. 340-341. He has never done any testing on steel-belted
                  11
                        radial tires to determine whether service conditions can cause separations resulting in
                  12
                        rubber reversion in tires. Id. at 340. Nor has he analyzed service conditions as causes of
                  13
                        rubber reversion zones in tires. Id. at 346-350. Further, he has not done any scientific
                  14
                        studies to support his rubber reversion defect opinion. Id. at 341.
                  15
                                   Testing is critical factor courts look at to determine the reliability of an expert
                  16
                        opinion. As noted by the Third Circuit, “Since [the expert] conducted no tests . . . he used
                  17
                        little, if any, methodology beyond his own intuition. There is nothing here to submit to
                  18
                        peer review, and it is impossible to ascertain any rate of error for [his] assumptions. . . .”
                  19
                        See Oddi v. Ford Motor Co., 234 F.23d 136, 158 (3rd Cir. 2000), cert. denied 121 S.Ct.
                  20
                        1357 (2001).
                  21
                                   Cottles is not aware of any peer-reviewed, published literature, scientific data,
                  22
                        published testing, or scientific studies that support the proposition that rubber reversion in
                  23
                        a tire is a defect. Exhibit 3, p. 341-344. Nor is he aware of any published texts or
                  24
                        treatises which suggest that rubber reversion in a tire is a defect. Id. at 344. Further,
                  25
                        Cottles cannot identify any published testing, peer-reviewed literature, scientific studies or
                  26
                        10
                             See Cottles Report, p. 26-27.
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                      -11-
                        Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 12 of 17




                   1
                        scientific data that stands for the proposition that rubber heat reversion zones are “indicia”
                   2
                        of a defect in a tire. Id. at 340-345.
                   3
                                   Cottles has not peer-reviewed his opinion that rubber reversion in a tire is a defect.
                   4
                        Exhibit 3, p. 343. He has not published in any journal his opinion that rubber reversion in
                   5
                        a tire is a defect. Id. at 344. He has never offered the opinion at any professional
                   6
                        conference or seminar that rubber reversion in a tire is a defect. Id.
                   7
                                   Cottles cannot identify any particular scientific community that has accepted the
                   8
                        proposition that rubber reversion in a tire is a defect. Id. at 344-345. He cannot identify
                   9
                        any tire expert anywhere in the world that has offered the opinion that if there is a rubber
                  10
                        reversion zone in a tire it is indicia of a defect. Id. He cannot identify any tire expert
                  11
                        anywhere in the world that agrees with his rubber reversion defect theory. Id.
                  12
                        Cottles admits the Tire Industry Association in its Passenger and Light Truck Tire
                  13
                        Condition Manual states tires can sustain tread/belt separations and detachments as a
                  14
                        result of service conditions, and evidence of that would include reversion of the
                  15
                        rubber stock. Id. at 347-348. Cottles admits this statement also contradicts his opinion.
                  16
                        Id. at 348-349.
                  17
                                   Moreover, as referenced above, Cottles agrees that the puncture repair in the tire is
                  18
                        in the area where he contends the “major rubber reversion crescent zone” is located.
                  19
                        Cottles cannot rule out the puncture and/or puncture repair as the cause of what he
                  20
                        contends is “rubber reversion” in the subject tire.
                  21
                                   2.        Insufficient Antidegradants in Skim Compound
                  22
                                   Cottles opines the subject tire is defective in design because its skim compound has
                  23
                        inadequate antidegradants (antioxidants).11 He claims the evidence for this opinion is the
                  24
                        “rubber reversion zones” discussed above.             Id.   Yet Cottles cannot give a rate of
                  25
                        degradation of the antidegradants in Firestone Steeltex Radial A/T tires or in any steel-
                  26
                        11
                             See Cottles Report, p. 27.
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                       -12-
                        Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 13 of 17




                   1
                        belted radial tires. Exhibit 3, p. 368.
                   2
                               Cottles cannot quantify the levels of antidegradants in the subject tire on the day of
                   3
                        the accident, at any time prior to the accident, or currently. Cottles does not contend the
                   4
                        antidegradants in the subject tire were completely consumed prior to the accident. In fact,
                   5
                        he does not even know if it is possible for all of the antidegradants in a tire to be
                   6
                        consumed; yet he has never analyzed that. Exhibit 2, p. 250-251. He admits he does not
                   7
                        know the chemical nature of all the antidegradants in a tire and the issue of whether all
                   8
                        antidegradants in a tire can be consumed is outside his area of expertise. Id.
                   9
                               Cottles has not prepared or proposed an alternative design for the antidegradant
                  10
                        package in the subject tire. He has never designed or formulated the antidegradant system
                  11
                        for a steel-belted radial tire. Exhibit 3, p. 357-358. He cannot quantify or place a value
                  12
                        on what the acceptable levels of antidegradants would be for the subject tire or any tire in
                  13
                        order for them not to be defective. Id. at 359, 361. Cottles does not contend that all tires
                  14
                        must use the same antidegradant system or the same levels of antidegradants; yet he
                  15
                        cannot identify the objective target for whether the antidegradant system in a tire is
                  16
                        adequate. Id. at 360-361. He is not aware of any industry standard regarding the type or
                  17
                        amount of antidegradants in steel-belted radial tires.        Id.   He cannot state what
                  18
                        antidegradant should be used in the skim stock on the subject tire. Id. at 360. Nor can he
                  19
                        quantify the levels of antidegradants that should be used in the subject tire. Id. He
                  20
                        admits that determining the types and/or amounts of antidegradants in a steel-belted
                  21
                        radial tire is beyond his expertise. Id. at 360-361. Clearly, Cottles, who is not a
                  22
                        chemist, chemical engineer or compounder, is not qualified to offer his antidegradants
                  23
                        opinion.
                  24
                               Further, Cottles’ insufficient antidegradants theory does not pass muster under
                  25
                        Daubert. He has not done any testing to support his opinion regarding the antidegradant
                  26
                        system in the subject tire. Id. at 358-359. He has never done any testing or analysis of the
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                   -13-
                        Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 14 of 17




                   1
                        antidegradant system for a Firestone Steeltex Radial A/T tire or for any steel-belted radial
                   2
                        tire. Id. at 358. He has never done any scientific studies of the antidegradant system in
                   3
                        any steel-belted radial tire. Exhibit 2, p. 252. Nor has he done any chemical analysis of
                   4
                        the subject tire.
                   5
                                   Moreover, Cottles has no scientific studies to support his theory. He is not aware
                   6
                        of any published literature about appropriate types or levels of antidegradants used in
                   7
                        steel-belted radial tires. Exhibit 3, p. 361. Identifying what specific antidegradants would
                   8
                        be acceptable in steel-belted radial tires is outside of his field of expertise. Id. In
                   9
                        addition, as referenced above, Cottles’ rubber reversion theory, which he alleges is
                  10
                        evidence for his insufficient antidegradants theory, does not pass muster under Daubert.
                  11
                        See p. 11-12 above.
                  12
                                   3.        Liner Pattern Marks
                  13
                                   Cottles opines the subject tire is defective in manufacture due to the existence of
                  14
                        liner pattern marks.12 He believes liner pattern marks are evidence of improper adhesion.
                  15
                        Id. Cottles’ liner pattern theory does not pass muster under Daubert for multiple reasons.
                  16
                                   Cottles has not performed and cannot identify any testing which has established
                  17
                        liner marks as an indicator of poor adhesion or bonding.            Exhibit 4, p. 52-53.   He
                  18
                        performed tread stripping tests at Goodyear-Dunlop to determine the appearance and
                  19
                        evidence of lack of bonding between the belts or the belt to the tread. Id. at 50, 52.
                  20
                        However, these tests were not specifically designed to determine the effect of liner pattern
                  21
                        marks. Id. Moreover, the results of these tests were not published in a written form or
                  22
                        subjected to peer review. Id. at 50. Given the lack of testing, “[t]here is nothing here to
                  23
                        submit to peer review, and it is impossible to ascertain any rate of error for [his]
                  24
                        assumptions. . . .” See Oddi v. Ford Motor Co., 234 F.23d 136, 158 (3rd Cir. 2000), cert.
                  25
                        denied 121 S.Ct. 1357 (2001).
                  26
                        12
                             See Cottles Report, p. 26.
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                     -14-
                        Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 15 of 17




                   1
                               Cottles has not peer reviewed or published his liner pattern theory. Exhibit 1,
                   2
                        p. 383. Nor has he ever presented his liner pattern theory at any professional conference.
                   3
                        Id. He is aware of peer-reviewed, published literature concluding that liner pattern marks
                   4
                        are not a defect in tires. Id.
                   5
                               Cottles is not aware of an organization that has indicated its general acceptance of
                   6
                        the proposition that liner pattern marks are indicative of a product defect and cannot
                   7
                        quantify the rate of error of his liner pattern theory/technique; nor is he aware of anyone
                   8
                        who has sought to make such a determination. Exhibit 4, p. 56.
                   9
                        G.     Cottles’ Opinions do not Comply with any of the Indicia of Reliability
                  10
                               Described in Daubert
                  11           Cottles has not met the reliability requirements of Daubert with respect to his tire
                  12    defect opinions referenced above: (1) Cottles has not tested his theories; (2) Cottles has
                  13    not peer-reviewed or published his theories or their underlying bases; (3) Cottles has no
                  14    scientific studies to support his theories; (4) Cottles cannot establish the rate of error for
                  15    his opinions or purported methodology, if any; and (5) Cottles’ opinions and methodology
                  16    are not accepted in the relevant scientific community.
                  17           See Daubert v. Merrell Dow Pharmaceuticals, Inc., 113 S. Ct. 2786, 2795 (1993).
                  18    If an expert's opinions merely set forth conclusions without any indication of how those
                  19    conclusions were reached, the expert's opinions will be of no assistance to the trier of fact.
                  20    Indeed, experts who are willing to form opinions without validating tests lack objectivity,
                  21    the hallmark of the scientific method. Claar v. Burlington Northern R. Co., 29 F.3d 499,
                  22    502-503 (9th Cir. 1994); Diviero v. Uniroyal Goodrich Tire Company, 919 F.Supp. 1353,
                  23    1360 (D. Ariz. 1996). See e.g., Richardson v. Richardson-Merrell, Inc., 857 F.2d 823,
                  24    829 (D.C. Cir. 1988); Mid-State Fertilizer Co. v. Exchange National Bank of Chicago,
                  25    877 F.2d 1333, 1339 (7th Cir. 1989).
                  26           As Cottles has not satisfied the reliability requirements established by the Supreme
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                   -15-
                        Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 16 of 17




                   1
                        Court in Daubert and Kumho Tire, his opinions should be excluded.
                   2
                               WHEREFORE, Defendant Bridgestone Firestone North American Tire, LLC
                   3
                        respectfully requests its Motion to Exclude Certain Expert Testimony of Troy Cottles and
                   4
                        Brief in Support Thereof be granted; that the Court enter an Order excluding Troy Cottles’
                   5
                        above-discussed opinions; and for such other relief, both at law and in equity, to which
                   6
                        this Defendant may show itself to be justly entitled.
                   7
                               DATED this 21st day of November, 2008.
                   8
                   9                                              HARTLINE, DACUS, BARGER, DREYER &
                                                                  KERN, L.L.P.
                  10
                  11                                              By: ___ s/ Scott G. Edwards
                                                                  Scott G. Edwards
                  12
                                                                  And
                  13
                  14                                              William L. Thorpe (No. 005641)
                                                                  Scott Day Freeman (No. 019784)
                  15                                              FENNEMORE CRAIG, P.C.
                  16                                              3003 North Central Avenue
                                                                  Suite 2600
                  17                                              Phoenix, Arizona 85012-2913
                                                                  Telephone: (602) 916-5000
                  18
                                                                  E-mail: wthorpe@fclaw.com
                  19                                              E-mail: sfreeman@fclaw.com

                  20                                              And
                  21
                                                                  Matthew D. Kleifield (No. 011564)
                  22                                              Robert C. Ashley (No. 022335)
                                                                  KUNZ PLITT HYLAND
                  23
                                                                  DEMLONG & KLEIFIELD
                  24                                              3838 North Central Avenue
                                                                  Suite 1500
                  25                                              Phoenix, Arizona 85012-1902
                  26                                              Telephone: (602) 331-4600
                                                                  E-mail: mdk@kunzlegal.com
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                   -16-
                        Case 2:07-cv-00889-DGC Document 113 Filed 11/21/08 Page 17 of 17




                   1                                            E-mail: rca@kunzlegal.com
                   2
                                                                Attorneys for Defendant
                   3                                            Bridgestone Firestone North
                                                                American Tire, LLC
                   4
                                                    CERTIFICATE OF SERVICE
                   5
                               I hereby certify that on November 21, 2008, I electronically transmitted the
                   6    attached document to the Clerk's Office using the ECF System for filing and transmittal of
                        a Notice of Electronic Filing to the following ECF registrants:
                   7
                                      Linda B. Williamson
                   8                  Lucia Stark Williamson LLP
                                      2700 North Central Avenue
                   9                  Suite 1400
                                      Phoenix, Arizona 85004-1133
                  10                  lbw@lswaz.com
                  11                  Roger S. Braugh, Jr.
                                      Sico, White & Braugh L.L.P.
                  12                  802 North Carancahua
                                      Suite 900
                  13                  Corpus Christi, Texas 78470
                                      rbraugh@swbtrial.com
                  14
                                     KUNZ PLITT HYLAND & KLEIFIELD
                  15                 Matthew D. Kleifield
                                     3838 North Central Avenue
                  16                 Suite 15
                                     Phoenix, Arizona 85012
                  17                 mdk@kunzlegal.com
                  18                 Scott G. Edwards
                                     Hartline, Dacus, Barger, Dreyer & Kern, L.L.P.
                  19                 6688 North Central Expressway, Suite 1000
                                     Dallas, Texas 75206
                  20                 sedwards@hdbdk.com
                  21                 Marc R. Brosseau
                                     Kerr Brosseau Bartlett O’Brien, LLC
                  22                 1500 Broadway, Suite 1600
                                     Denver, Colorado 80202
                  23                 mbrosseau@kbbolaw.com
                  24
                  25
                                                                 s/ Scott G. Edwards
                  26
FENNEMORE CRAIG, P.C.
      PHOE NI X

                                                                 -17-
